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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

UNITED STATES OF AMERICA,

v.                                         Case Nos.: 4:92cr4013/WS/CAS
                                                      4:16cv447/WS/CAS
PATRICK HOWELL,

       Defendant.



                                  ORDER

       This matter is before the court upon Defendant’s motion under 28

U.S.C. § 2255 to vacate, set aside, or correct sentence by a person in

federal custody. (ECF No. 2153). Rule 4(b) of these rules provides in part

that “[i]f it plainly appears from the motion, any attached exhibits, and the

record of prior proceedings that the moving party is not entitled to relief, the

judge must dismiss the motion and direct the clerk to notify the moving

party.” After a review of the record, it is the opinion of the undersigned that

the court is without jurisdiction to entertain Defendant’s motion and that it

should be summarily dismissed.




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                       BACKGROUND and ANALYSIS

      Defendant Patrick Howell and several other codefendants were the

principal leaders of an elaborate drug operation that operated in several

Southern states. In March of 1993, Defendant was found guilty of

numerous drug and racketeering offenses. (See ECF No. 1798). In May of

1993, Defendant was sentenced to life imprisonment. His convictions were

affirmed on appeal. See United States v. Mothersill, 87 F.3d 1214, 1217-

20 (11th Cir. 1996).

      In October of 1997, Defendant filed an amended motion under 28

U.S.C. § 2255 to vacate, set aside, or correct his sentence. (See ECF No.

1167). In April of 2000, Defendant’s amended motion was denied. (ECF

Nos. 1372, 1381). Defendant appealed, and the Eleventh Circuit Court of

Appeals remanded the case for a determination of whether a certificate of

appealability should issue. (ECF No. 1538). On remand, the court denied

a certificate of appealability. (ECF No. 1549). Defendant filed a notice of

appeal which the Eleventh Circuit construed as a motion for a certificate of

appealability and denied. (ECF No. 1559).




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      In the instant motion, Defendant seeks sentencing relief under

Johnson v. United States, 135 S.Ct. 2551 (2015). (ECF No. 2153). Before

a second or successive application for § 2255 relief is filed in the district

court, a defendant must move in the appropriate court of appeals for an

order authorizing the district court to consider the application. 28 U.S.C.

§ 2244(b)(3) and § 2255(h); Felker v. Turpin, 518 U.S. 651 (1996).

Defendant filed the required application seeking to file a second or

successive § 2255 motion. However, on July 21, 2016, the Eleventh Circuit

Court of Appeals denied Defendant’s application because he failed to make

a prima facie showing of the existence of either of the grounds set forth in

28 U.S.C. § 2255(h). (ECF No. 2154). Therefore, the instant motion to

vacate must be dismissed because the court lacks jurisdiction to consider

Defendant’s successive § 2255 motion without proper authorization.

                    CERTIFICATE OF APPEALABILITY

      As amended effective December 1, 2009, § 2255 Rule 11(a) provides

that “[t]he district court must issue or deny a certificate of appealability

when it enters a final order adverse to the applicant,” and if a certificate is

issued “the court must state the specific issue or issues that satisfy the



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showing required by 28 U.S.C. § 2253(c)(2).” A timely notice of appeal

must still be filed, even if the court issues a certificate of appealability.

§ 2255 11(b).

      After review of the record, the court finds no substantial showing of

the denial of a constitutional right. § 2253(c)(2); Slack v. McDaniel, 529

U.S. 473, 483–84 (2000) (explaining how to satisfy this showing) (citation

omitted). Therefore, it is also recommended that the court deny a

certificate of appealability in its final order.

      The second sentence of new Rule 11(a) provides: “Before entering

the final order, the court may direct the parties to submit arguments on

whether a certificate should issue.” If there is an objection to this

recommendation by either party, that party may bring this argument to the

attention of the district judge in the objections permitted to this report and

recommendation.

      Accordingly, it is respectfully RECOMMENDED:

      1.     Defendant’s motion under 28 U.S.C. § 2255 to vacate, set

             aside, or correct sentence by a person in federal custody (ECF

             No. 2153) be SUMMARILY DISMISSED.



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     2.    A certificate of appealability be DENIED.

     At Tallahassee, Florida, this 15th day of August, 2016.


                               S\ CHARLES A. STAMPELOS
                               CHARLES A. STAMPELOS
                               UNITED STATES MAGISTRATE JUDGE


                       NOTICE TO THE PARTIES

             Objections to these proposed findings and
recommendations must be filed within fourteen (14) days after being
served a copy thereof. Any different deadline that may appear on the
electronic docket is for the court’s internal use only, and does not
control. A copy of objections shall be served upon all other parties.
If a party fails to object to the magistrate judge's findings or
recommendations as to any particular claim or issue contained in a
report and recommendation, that party waives the right to challenge
on appeal the district court's order based on the unobjected-to factual
and legal conclusions. See 11th Cir. Rule 3-1; 28 U.S.C. § 636.




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